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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

In re                                                                    Chapter 11

HO WAN KWOK                                                              Case No. 22-50073 (JAM)
a/k/a WENGUI GUO
a/k/a MILES GUO,                                                         Re: ECF No. 515

                             Debtor.



               ORDER GRANTING APPOINTMENT OF CHAPTER 11 TRUSTEE

           Upon the Application for an Order Approving the United States Trustee’s Appointment

of Chapter 11 Trustee (“Application”) pursuant to the Court’s Order dated June 15, 2022 (ECF

465) directing the United States Trustee to appoint a Chapter 11 Trustee in the above captioned

individual case of Ho Wan Kwok a/k/a Wengui Guo a/k/a Miles Guo (the “Debtor”), 1 and the

United States Trustee having selected Luc A. Despins for appointment and Luc A. Despins

having accepted appointment to serve as Chapter 11 trustee in the Debtor’s case, it is hereby

           ORDERED that, pursuant to 11 U.S.C. § 1104(d), the appointment of Luc A. Despins as

Chapter 11 trustee in the Debtor’s case is hereby granted; and it is further

           ORDERED that, within seven (7) days after his appointment, Luc A. Despins shall

obtain a bond in favor of the United States in the initial amount of $25,000.00, subject to further

increase or decrease as needed, conditioned on the faithful performance of his official duties

pursuant to 11 U.S.C. § 322(a).

                          Dated at Bridgeport, Connecticut this 8th day of July, 2022.




1
    The Debtor also uses other aliases.
